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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 13-872V
                                    Filed: September 17, 2014

* * * * * * * * * * * * * * * *                               UNPUBLISHED
KAREN SCHULER,                *
                              *                               Special Master Gowen
          Petitioner,         *
                              *                               Joint Stipulation on Damages;
v.                            *                               Influenza (“Flu”) Vaccine;
                              *                               Guillian-Barre Syndrome;
SECRETARY OF HEALTH           *                               Steroid Myopathy
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
                              *
* * * * * * * * * * * * * * * *

Paul R. Brazil, Muller Brazil, LLP, PA, for petitioner.
Lindsay Corliss, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On November 1, 2013, Karen Schuler (“petitioner”) filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that, as a result of receiving an influenza (“flu”) vaccine on November 8, 2010,
she developed Guillain-Barre Syndrome (GBS) and steroid myopathy. Stipulation ¶ 2, 4, filed
Sept. 16, 2014. Further, petitioner alleged that she experienced residual effects of her injuries for
more than six months. Id. at ¶ 4.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.


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        On September 16, 2014, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the flu vaccination caused
petitioner’s alleged GBS or steroid myopathy, and/or any other injury or condition. Id. at ¶ 6.
Respondent also denies that petitioner experienced the residual effects of these injuries for more
than six months. Id. Nevertheless, the parties agree to the joint stipulation, attached hereto as
Appendix A. The undersigned finds the stipulation reasonable and adopts it as the decision of
the Court in awarding damages, on the terms set forth therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $20,000.00, in the form of a check payable to petitioner, Karen
       Schuler. This amount represents compensation for all damages that would be
       available under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.3

       IT IS SO ORDERED.

                                             s/ Thomas L. Gowen
                                             Thomas L. Gowen
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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